          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL CASE NO. 3:09cr84


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                  vs.                     )             ORDER
                                          )
                                          )
ROBERT TRULL.                             )
                                          )

      THIS MATTER is before the Court on the Government’s Motion to

Extend Time for Filing Plea Agreement [Doc. 20], filed on July 23, 2009.

      For the reasons stated in the Government’s Motion, and for cause

shown, IT IS, THEREFORE, ORDERED that the Government’s Motion to

Extend Time for Filing Plea Agreement [Doc. 20] is GRANTED. The

deadline for the filing of a plea agreement in this case is hereby

EXTENDED to July 28, 2009.

      IT IS SO ORDERED.
                                      Signed: July 23, 2009




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